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 10
    Attorneys for Plaintiff,
 11 Andrea Neumann
 12
 13                              UNITED STATES DISTRICT COURT
 14                            CENTRAL DISTRICT OF CALIFORNIA
 15                                   WESTERN DIVISION
 16
      Andrea Neumann,                           Case No.: 8:12-cv-01509-JLS-JPR
 17
                         Plaintiff,             NOTICE OF SETTLEMENT
 18
 19          vs.
 20
    CMRE Financial Services, Inc.; and
 21 DOES 1-10, inclusive,
 22
                  Defendants.
 23
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      8:12-cv-01509-JLS-JPR                                      NOTICE OF SETTLEMENT
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  1                             NOTICE OF SETTLEMENT
  2
             NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have
  3
  4 reached a settlement. The Plaintiff anticipates filing a notice of withdrawal of
  5 Complaint and voluntary dismissal of this action with prejudice pursuant to Fed. R.
  6
    Civ. P. 41(a) within 60 days.
  7
  8       The parties hereby further request that this honorable Court provide a period of
  9 60 days within which to complete the settlement and file a dismissal of the action.
 10
 11
 12                                             By: /s/ Tammy Hussin
                                                Tammy Hussin, Esq.
 13                                             Lemberg & Associates, LLC
 14                                             Attorney for Plaintiff, Andrea Neumann
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      8:12-cv-01509-JLS-JPR                                            NOTICE OF SETTLEMENT
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  1                                  CERTIFICATE OF SERVICE
  2
             I, the undersigned, certify and declare that I am over the age of 18 years, and
  3
  4 not a party to the above-entitled cause. On January 2, 2014, I served a true copy of
  5 foregoing document(s): NOTICE OF SETTLEMENT.
  6
  7 BY ELECTRONIC FILING: I hereby                Attorney for Defendants CMRE
  8 certify that on January 2, 2014, a copy of Financial Services, Inc.
    the foregoing document was filed
  9 electronically. Notice of this filing will be
 10 sent by operation of the Court's electronic
    filing system to all parties indicated on
 11 the electronic filing receipt. All other
 12 parties will be served by regular U.S.
    Mail. Parties may access this filing
 13 through the Court's electronic filing
 14 system.
 15
 16
             I am readily familiar with the firm's practice of collection and processing
 17
 18 correspondence for mailing. Under that practice it would be deposited with the U.S.
 19 Postal Service on that same day with postage thereon fully prepaid in the ordinary
 20
    course of business. I am aware that on motion of the party served, service is presumed
 21
 22 invalid if postal cancellation date or postage meter date is more than one day after the
 23 date of deposit for mailing in affidavit.
 24
          I hereby certify that I am employed in the office of a member of the Bar of this
 25
 26 Court at whose direction the service was made.
 27          Executed on January 2, 2014.
 28
                                                  3
      8:12-cv-01509-JLS-JPR                                              NOTICE OF SETTLEMENT
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  1
  2                                         By: /s/ Tammy Hussin
                                            Tammy Hussin, Esq.
  3                                         Lemberg & Associates, LLC
  4                                         Attorney for Plaintiff, Andrea Neumann

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      8:12-cv-01509-JLS-JPR                                      NOTICE OF SETTLEMENT
